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               18                                UNITED STATES DISTRICT COURT
                                                    DISTRICT OF NEVADA
               19

               20 BYRNA TECHNOLOGIES, INC., a Delaware         Case No.: 2:21-cv-01559-APG-DJA
                  corporation,
               21                         Plaintiff,            STIPULATION AND ORDER FOR
                  vs.                                          DISMISSAL WITH PREJUDICE OF
               22                                              CERTAIN DEFENDANTS
                  DUKE DEFENSE USA, INC., a Delaware
               23 corporation; BOUGIEFIT, LLC, a Nevada
                  limited liability company; ZYN APPAREL, LLC
               24 a Delaware limited liability company; REILLY
                  SCHUELER, an individual; BENJAMIN M.
               25 FLAM; an individual; JONATHAN COBB
                  SANDERS, an individual; RANDALL
               26 CLIFTON, an individual; DENI STRAHL, an
                  individual; BRAD THOMAS, an individual;
               27 APRIL WOODWARD, an individual; and
                  TYLER AKIN, an individual,
               28                         Defendants.

JACKSON LEWIS P.C.                                          1
   LAS VEGAS
                       Case 2:21-cv-01559-APG-DJA Document 65 Filed 11/15/21 Page 2 of 2



                1          Plaintiff Byrna Technologies, Inc., by and through its counsel of record, Defendant Zyn
                2 Apparel, LLC d/b/a Treezyn (“Treezyn”), by and through its counsel of record, and Defendants Duke

                3 Defense USA, Inc. (“Duke USA”), Reilly Schueler (“Schueler”), Jonathan Cobb Sanders (“Sanders”),

                4 Deni Strahl (“Strahl”), and April Woodward (“Woodward”) (collectively, Defendants Treezyn, Duke

                5 USA, Schueler, Sanders, Strahl and Woodward are the “Duke Parties”), pro se, hereby stipulate and

                6 agree to dismiss this case and all claims and allegations therein with prejudice as to the Duke Parties

                7 only, each party to bear its own attorneys’ fees and costs, pursuant to a Confidential Settlement

                8 Agreement wherein the Duke Parties have agreed to abide by the terms of the Preliminary Injunction

                9 issued by the Court on September 7, 2021 (ECF No. 25).

               10          DATED this 11th day of November, 2021.
               11          JACKSON LEWIS, P.C.                           HOLLAND & HART LLP
               12
                           /s/ Joshua A. Sliker                          /s/ Laura K. Granier
                                                                             ______________________________
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               16          Byrna Technologies, Inc.                      LLC
               17
                           REILLY SCHUELER                               DUKE DEFENSE USA, INC.
               18
                           _____________________________                 ________________________________
               19
                           APRIL WOODWARD                                JONATHAN COBB SANDERS
               20
                           _____________________________                 ________________________________
               21

               22          DENI STRAHL

               23          _________________________________

               24                                                               IT IS SO ORDERED.

               25
                                                                                ______________________________
               26
                                                                                United States District Court Judge
               27
                                                                                         November 15, 2021
                                                                                Dated: _______________________
               28

JACKSON LEWIS P.C.                                                   2
   LAS VEGAS
